Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 1 of 7 PageID 1292




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.                         Case No. 8:12-cv-205-T-17MAP

 DEONTE JAMAL MARTIN, et al.
                                   /

                                         ORDER

       This matter is before the Court on Defendant’s, DEONTE JAMAL MARTIN,

 Motion for Reconsideration of Accelerated Trial Date and Request for Ex Parte, In

 Camera Hearing, (Doc. # 339), filed July 16, 2015, the Government’s Response, (Doc.

 # 344), filed July 23, 2015, Defendant’s, JERRY W. GREEN, JR., Motion to Continue

 Trial, (Doc. # 341), filed July 23, 2015, the Government’s Response, (Doc. # 348), filed

 July 30, 2015, and the remaining Defendants’ motions to adopt. (Docs. ## 349, 350,

 351, 354).    For the reasons that follow below, the motions are DENIED without

 prejudice.

                                       BACKGROUND

        On May 29, 2014, the Government returned in open court the Second

 Superseding Indictment charging each defendant with engaging in a RICO conspiracy.

 (Doc. # 82 at 1i1|1-3). “The principal purpose of the Enterprise was to generate money

 for its members through the commission of various criminal activities, including criminal

 acts involving the felonious manufacturing, receiving, concealing, buying, selling and

 otherwise dealing in controlled substances, robbery and other acts of violence.” (Doc. #

 82 at 1}2).   The Defendants allegedly furthered these illegal activities with threats

 involving violence, ranging from assault to murder.    (Doc. # 82 at 1J2).   Defendants
Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 2 of 7 PageID 1293




 Martin’s and Green’s specific alleged role as members of the Enterprise included

 distributing controlled substances for the Enterprise and participating in acts of violence,

 including murder, (Doc. # 82 at 1J3(d), 113(f)). As alleged, the Defendants essentially

 operated a drug-dealing enterprise engaged in robberies, kidnappings, and murders.

        On June 10, 2014, authorities arrested Defendant Martin, (Doc. # 119), advised

 of the charges against him on June 18, 2014, and he rejected the assistance of an

 attorney at that hearing. (Doc. # 127). The following day the Court appointed attorney

 Mr. Kevin Beck as primary counsel. (Doc. # 129). On June 20, 2014, the Court entered

 its Pretrial Discovery Order and Notice of Trial and Status Conference, outlining the

 obligations for both the Government and the Defendant with respect to discovery,

 motions deadlines, and notice requirements. (Doc. # 133). On July 9, 2014, Mr. Beck

 moved for the unopposed appointment of co-counsel pursuant to 18 U.S.C. § 3005,

 (Doc. # 154), which, after conducting a hearing on the merits, (Doc. # 174), the Court

 granted July 22, 2014.      (Doc. # 182).    The following day Mr. Steven H. Malone

 appeared as co-counsel for Defendant. (Docs. ## 185, 191). The procedural posture

 for arrests, arraignments, and appointments of counsel is substantially similar for the

 remaining Defendants.     Before September 2014, the Court appointed a coordinating

 discovery attorney for the benefit of a centralized electronic database. (Doc. # 213).

        The Court held status conferences on September 30, 2014, October 31, 2014,

 November 21, 2014, January 5, 2015, and February 13, 2015. (Docs. ##220, 249, 254,

 268, 280, 282). On May 22, 2015, the Court held a status conference wherein counsel

 were notified a date certain trial was set for June 6, 2016, over unanimous objection.

 (Doc. # 322).   At the May 22, 2015 status conference, the attorneys requested the
Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 3 of 7 PageID 1294




 opportunity to respond to the Court’s new trial date via motion, which the Court granted.

 After the status conference, the Government notified counsel for Defendants the date

 for presentation of a non-authorization package to the U.S. Attorney for the Middle

 District of Florida was accelerated to July 31, 2015, and later to August 31, 2015. As of

 the date of entering this Order, counsel for Defendant Martin and counsel for Defendant

 Green filed motions to reconsider and modify the date certain trial, (Docs. ## 339, 441,

 respectively), to which the Government responded on July 23, 2015, and July 30, 2015,

 respectively.   (Doc. # 344, 348).    Counsel for the remaining Defendants adopted

 Defendants’ motions. (Docs. ## 349, 350, 351, 354). The bases include:

          1. Acceleration of the mitigation submission deadline will
             increase the likelihood of an authorization to seek death, lead
             to a reduction of the reliability of the ultimate death
             sentencing decision, and will result in a greater expenditure of
             funds;
         2. Acceleration of the trial date removes the opportunity for
             counsel to effectively present arguments in mitigation to the
             Government and increases the likelihood of authorization;
         3. Every task associated with a death-eligible case is more
             difficult and time consuming;
         4. Current budgets do not take into consideration the costs
             associated with proceeding to trial as an authorized case;
         5. The current timetable includes significantly less time than the
             average capital case, in a case that is much more complex
             than the “average” case;
         6. If the Court allowed more time, it is likely that the Defendants
             will not be authorized for capital prosecution, resulting in
             substantial cost savings and heightened reliability;
         7. Each counsel and mitigation specialist has other
             commitments;
         8. The accelerated trial date adversely impacts required case
             investigation and preparation, as well as development of the
             attorney-client trust and mitigation;
         9. The factual complexity and voluminous discovery distinguish
             this case;
         10. Prior violent incidents which the Government may raise in
             aggravation necessitate thorough investigation;
Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 4 of 7 PageID 1295




         11. Prior unadjudicated conduct which the Government may raise
             in aggravation necessitate thorough investigation;
         12. A substantial portion of the Government’s case is based on
             cooperating witnesses referred to as “snitches.” Should the
             Defendants proceed to trial without sufficient advanced time
             to investigate the “snitches,” the Defendants will be deprived
             of Constitutional rights; and
         13. Effective assistance of counsel includes sufficient time to
             investigate all witnesses who might have information
             concerning a defendant’s innocence or guilt, and without that
             time, the Defendants will be deprived of Constitutional rights.

                                      DISCUSSION

       A motion for continuance of a trial date is decided on a case-by-base basis in

 light of the circumstances presented, particularly the reasons for the continuance

 presented to the Court at the time the request is considered. See U.S. v. Fernandez,

 553 Fed.Appx. 927, 933 (11th Cir. 2014). Courts often consider the timeliness of the

 request for continuance; the reasons for which the continuance is sought; the length of

 the requested delay; the number of continuance previously granted; and the general

 balance of convenience to the Court and the parties. The burden rests with the party

 requesting continuance to persuade the Court to change the trial date. Additionally, to

 determine adequate time for preparation, courts analyze the quantum of time available,

 the likelihood of prejudice from denial, the accused’s role in shortening the effective

 preparation time, the degree of complexity of the case, and the availability of discovery

 from the prosecution. U.S. v. Uptain, 531 F.2d 1281, 1286 (11th Cir. 1976).

       Defendants’ motions are primarily based on speculation and focus on the actions

 of the Government outside the authority of this Court. Counsel for Defendant Martin

 mentions an unspecified number of cases and upcoming anticipated trials, which would

 preclude counsel from attending to this case; the time an attorney-client relationship
Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 5 of 7 PageID 1296




 takes to develop; and the voluminous amount of discovery.           (Doc. # 339).     While

 counsel recites numerous sources indicating death cases are different and more time

 should be afforded, counsel fails to provide application of those concepts to the present

 facts and circumstances. Counsel represents that this case will require extraordinary

 preparation, but fails to provide any measure of the preparation already expended or the

 anticipated time for preparation moving forward.

        Counsel provides, however, one particularly noteworthy statistic: the average

 time between indictment of a defendant for a capital crime and the notice of intent to

 seek the death penalty is 16.1 months. (Doc. # 339 at 6). Calculating the time between

 the date of the Second Superseding Indictment—May 29, 2014—and the deadline for

 Defendants’ presentation for non-authorization—August 31, 2015—results in 459 days,

 or 1 year, 3 months, and 2 days, neither of which include the end date. The time for

 which all counsel are afforded to prepare for the non-authorization presentation is

 consistent with the national averages. Should the Government elect to abandon the

 death penalty, the remainder of that statistic concerning the average time from notice of

 intent to seek the death penalty and the trial date is a non-issue, but currently is at best

 speculative and conjecture, and fails to meet the burden for continuance.

        The Court has considered the complexity of this case and the volume of

 discovery; however, the Government provided approximately 90 percent of the

 discovery on or before February 13, 2015. Further, the Government met with counsel

 for all Defendants and provided a detailed presentation of the evidence of violent crimes

 the Government anticipates it will introduce at trial. This presentation consisted of 295

 PowerPoint slides and 148 written pages, and was presented orally with written copies
Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 6 of 7 PageID 1297




 provided to counsel. Moreover, the Government offered to provide reports of witness

 interviews, subject to protective order that forbade disclosure of their identities to assure

 their safety, to which counsel exercised their rights of rejection. While discovery is still

 ongoing and the Defendants note the Government has recently produced more than

 100 discs full of data, the Government—in its sole discretion—elected to accelerate the

 presentation date, and has represented to the Court time and attention will be provided

 for presentations Defendants may submit to the Department of Justice Capital Case

 Committee, apart from the presentations to the United States Attorney for the Middle

 District of Florida. (Docs. ## 344 at 4, 348 at 4).

        There is no one-size-fits-all answer to the question of how much time is

 necessary to adequately prepare a complex case for trial. The length of time between

 arrest and presentation for non-authorization corresponds with national averages and is

 adequate given the circumstances of this case. Defendants have not alleged specific

 prejudices; that less time is available than expected does not mean the available time is

 necessarily inadequate. Should the prejudices become concrete, identifiable, specific

 prejudices, this Court will address those matters as they materialize; however, given the

 speculative nature of these motions and the general argument that advancing the trial

 will require counsel to work more in a shorter timeframe, this Court cannot find that

 Defendants carried their burden for continuance, and the motions must be denied.
Case 8:12-cr-00205-SDM-SPF Document 362 Filed 07/31/15 Page 7 of 7 PageID 1298




         Accordingly, it is ORDERED that Defendants’ requests to modify the trial date

 are DENIED without prejudice.

         DONE and ORDERED in Chambers, in Tampa, Florida, this       y of July,

 2015.
